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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourt.gov

In re:                                                        Case No. 20-22879-LMI

MIGUEL ANGEL RODRIGUEZ                                        Chapter 13

                Debtor.
                                    /

                              NOTICE OF UNAVAILABILITY

       PLEASE BE ADVISED that the undersigned counsel for Creditor Yasmin Carvajal
(“Creditor”) gives notice that he will be unavailable from June 7, 2021 up to and including July 5,
2021 and respectfully requests that no hearings, mediations, depositions, or any other matter be set
during said time period.

                                CERTIFICATE OF ADMISSION

      I HEREBY CERTIFY that I am admitted to the Bar for the District Court in and for the
Southern District of Florida, and am qualified to practice before this Court as set forth in Local Rule
2090-1(A).

                                 CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically served
on May 21, 2021 to all registered parties via CM/ECF and:

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Debtor


                                    Respectfully submitted,

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                             By:    /s/ Ariel Sagre
                                    ARIEL SAGRE, ESQ.
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